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                                                  February 2, 2018
VIA ECF & ELECTRONIC MAIL
Hon. Cathy Seibel, U.S.D.J.
United States District Court for the Southern District of New York
Hon. Charles L. Brieant Jr. Federal Building and U.S. Courthouse
300 Quarropas St.
White Plains, NY 10601
chambersnysdseibel@nysd.uscourts.gov
           Re:        Markos v. Russell Brands, LLC
                      Civil Action No. 16-04362 (CS): Letter Motion to Seal

Dear Judge Seibel:

       We represent Defendant Russell Brands, LLC (“Russell”) in the above-referenced matter.
Please accept this letter brief in lieu of a more formal application, requesting permission for
Russell to file its (unredacted) pre-motion letter under seal (as well as Russell’s anticipated
opposition letter to Plaintiff’s pre-motion letter).
         A redacted version of Russell’s pre-motion letter will be shortly filed on ECF; and a
courtesy copy of both a redacted and unredacted version of this letter will be sent to chambers
electronically, with copy to Plaintiff’s counsel. We will similarly e-file our redacted opposition
letter via ECF and provide the necessary courtesy copies to chambers and counsel, on February
9, 2018.
                                                  BACKGROUND

        On December 20, 2016, your Honor executed the parties’ “Stipulated Confidentiality
Agreement and Protective Order” (“Confidentiality Order”) and entered the order on the docket.
(Dkt. No. 25.) The Confidentiality Order states, inter alia, that “[i]f any Protected Material is
included with any papers filed with the court, the filing party shall file such Protected Material
under seal in the manner directed by the Court or by Court rules that may be controlling at the
time of the filing of the Protected Material.” (Dkt. No. 25 p. 12.)

       Following and in accordance with the entry of the Confidentiality Order, the parties have
produced documents that have been designated as either “CONFIDENTIAL” or “ATTORNEY’S
EYES ONLY”, as well as taken transcribed depositions at which such material has been
discussed. This includes the production of multiple expert reports, served by both parties, as
well as depositions of Plaintiff’s experts. Russell (and, undoubtedly, Plaintiff) will be utilizing
much of this proprietary and confidential material throughout the course of post-discovery
motion practice. Similarly, Russell will be making reference to this material in both its
affirmative and opposition pre-motion letters.




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        Nevertheless, pursuant to the Confidentiality Order, this material and information must
be filed under seal.
                                        ARGUMENT

        Following the Second Circuit’s decision in Lugosch v. Pyramid Co. of Onondaga, 435
F.3d 110 (2d Cir. 2006), New York federal district courts have summarized the legal standard in
sealing materials as follows:

               First, a court must determine whether the documents are judicial
               documents. To qualify as a judicial document, the item filed must
               be relevant to the performance of the judicial function and useful
               in the judicial process. If the documents are deemed non-judicial,
               then there is no presumption of public access, and the movant need
               only make a baseline showing of good cause in order to justify the
               imposition of a protective order. If, however, the court determines
               that the documents are judicial in nature, there is a presumption of
               public access.

               Second, the court determines the weight of the presumption. The
               weight of the presumption is governed by the role of the material at
               issue in the exercise of the Article III judicial power and the
               resultant value of such information to those monitoring the federal
               courts. The material at issue will fall somewhere on a continuum
               from matters that directly affect the adjudication to matters that
               come within a court’s purview solely to insure their irrelevance.

               Finally, after the court has determined the weight of the
               presumption of access, the court must balance competing
               considerations against it. These competing considerations include,
               inter alia, the privacy interests of those resisting disclosure.

Ello v. Singh, 531 F. Supp. 2d 552, 582-584 (S.D.N.Y. 2007) (citations and quotations omitted).

       In summary, although these pre-motion letters are likely “useful in the judicial process”
and “directly affect the adjudication” of this case, there can be no doubt that confidential and
proprietary information produced in accordance with the Confidentiality Order must be filed
under seal—both because of Russell’s “privacy interests” (and, presumably, those of Plaintiff’s
experts), as well as because of Russell’s obligations under that order.

                                         CONCLUSION

       For the reasons set forth herein, Russell respectfully requests that the Court enter an order
permitting Russell to file both the unredacted versions of its affirmative and opposition pre-
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motion letters under seal with the Clerk of this Court.

                                              Respectfully submitted,

                                              /s/ Michael R. McDonald

                                              Michael R. McDonald
cc:    Counsel of Record (via ECF)
